          Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 1 of 7



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

              v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                   Defendant.


                    OPPOSITION TO GOVERNMENT’S MOTION IN
                   LIMINE TO EXCLUDE CHARACTER TESTIMONY

       The government has accused Defendant Gregory B. Craig of conduct involving

dishonesty. Mr. Craig has numerous friends and professional colleagues who believe he is an

honest man and who know his reputation for honesty, integrity, and good character. The Federal

Rules of Evidence allow him to present that proof to the jury in this case. The Supreme Court

“has held that such testimony alone, in some circumstances, may be enough to raise a reasonable

doubt of guilt and that in the federal courts a jury in a proper case should be so instructed.”

Michelson v. United States, 335 U.S. 469, 476 (1948).

       The government has taken the arbitrary position that “presenting more than two character

witnesses would be needlessly cumulative and would not aid the jury.” Gov’t Mot. In Limine to

Exclude Improper Character Testimony (“Mot.”), ECF 43 at 4. There is no basis for the Court to

set a numerical limit on character witnesses, and certainly not before the trial begins. The

government’s other attempts to curtail character testimony are similarly meritless, premature, or

both. The motion in limine should be denied.
          Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 2 of 7



                                         ARGUMENT

       Trial courts have “[w]ide discretion” regarding character testimony and the cross-

examination of character witnesses. Michelson, 335 U.S. at 480. But “[t]he discretion which

trial judges are . . . summoned to exercise is an informed discretion – one which takes into

account all relevant factors deserving of consideration.” United States v. Lewis, 482 F.2d 632,

643 (D.C. Cir. 1973) (emphasis added). A trial court errs when it “acts without the information

essential to comprehension and treatment of those factors” because it is “in the dark on pivotal

aspects of the testimony which the witnesses would give.” Id.

       There is a broad range of potential character evidence in this case. Mr. Craig has had a

long and varied life and career, and he should be permitted to present evidence of how other

people view his character and his reputation for truthfulness across different time periods and

contexts. It is impossible to say now, in the abstract, before any character witnesses have

testified or even been identified, that any such witness will be “needlessly cumulative.” Mot. at

4.

       Moreover, depending on how the government chooses to present its case, truthfulness

may not be the only pertinent character trait.      See Lewis, 482 F.2d at 637 (stating that a

defendant’s “presentation, in terms of number of such traits, may be as narrow or as broad as he

chooses so long as it remains germane to issues on trial”); United States v. Brown, 503 F. Supp.

2d 239, 243 (D.D.C. 2007) (explaining that traits other than truthfulness may be relevant in a

false statements case, and giving example of “professional diligence”). For example, if the

government attempts to show in its case-in-chief that Mr. Craig compromised his professional

ethics in order to please a client, then Mr. Craig’s professional integrity as a member of the bar

for nearly a half century would be a pertinent character trait in addition to his reputation for


                                                2
          Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 3 of 7



honesty. If the government suggests that Mr. Craig was motivated to serve the interests of a

foreign country in a manner inconsistent with American policy, then his patriotism and devotion

to this country could become a pertinent character trait as well.

       With little information about how the government will present its case, any decision

made now about the number of character witnesses that Mr. Craig may call in his defense would

be arbitrary and premature. See, e.g., United States v. McDonnell, 2014 WL 3545206, at *1

(E.D. Va. July 16, 2014) (denying “as premature” government motion in limine to limit number

of character witnesses and noting that “[t]he cumulative or permissible nature of character

witnesses presented by Defendants will be assessed in context at trial”); Brown, 503 F. Supp. 2d

at 240 & n.1 (declining mid-trial to make “specific rulings” on character evidence “as such

evidentiary decisions are not yet ripe”).

       The government appears to be arguing that the number of character witnesses can be

capped even at this juncture because, as a universal matter, more than two “would be needlessly

cumulative and would not aid the jury.” Mot. at 4. But the cases belie any such across-the-board

cap. See, e.g., United States v. Davis, 863 F.3d 894, 900 (D.C. Cir. 2017) (noting that trial court

permitted the defense to call “seven character witnesses to testify to her honesty and

trustworthiness”); United States v. Braxtonbrown-Smith, 278 F.3d 1348, 1351 (D.C. Cir. 2002)

(“six character witnesses”); United States v. Aronds, 210 F.3d 373, at *9 (6th Cir. 2000)

(unpublished) (“six character witnesses”); Michelson, 335 U.S. at 471 (“Defendant called five

witnesses to prove that he enjoyed a good reputation.”).

       The government claims that “many” courts “have limited the defense to two or three”

character witnesses, Mot. at 3, but not one of the cases the government cites supports an arbitrary

pre-trial numerical limit, much less establishes that imposing such a pre-trial limit is a routine


                                                 3
          Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 4 of 7



exercise of trial court discretion. In United States v. Johnson, 730 F.2d 683 (11th Cir. 1984), the

court affirmed a district court’s ruling during trial that precluded the defense from calling a

fourth witness to testify about the bad character of a government witness – not about the

defendant’s character. Id. at 687–88. A ruling during trial was likewise at issue in United States

v. Scholl, 166 F.3d 964 (9th Cir. 1999), and the government neglects to mention that the trial

court had allowed the defendant to elicit character testimony from two witnesses during the

government’s case-in-chief in addition to the three character witnesses who testified during the

defense case-in-chief. Id. at 972 n.2.

       Another of the government’s cases, United States v. Henry, 560 F.2d 963 (9th Cir. 1977),

involved an application by an indigent defendant for the court to subpoena character witnesses at

the government’s expense, and thus presented only the question of whether the witnesses’

presence was necessary “for an adequate defense” under Federal Rule of Criminal Procedure

17(b). The decision in Henry was not an evidentiary determination made under Federal Rules of

Evidence 403, 404, and 405. United States v. Gray, 105 F.3d 956 (5th Cir. 1997), arose under

“the rigorous ‘plain error’ standard of review” because the defendant had not objected at trial to

the court’s decision to limit three co-defendants to two character witnesses each. Id. at 963.

Finally, the government’s lone case from this jurisdiction, United States v. Jones, 43 F.R.D. 511

(D.D.C. 1967), involved a ruling on a venue-transfer motion by the defendant, not an evidentiary

ruling. Id. at 512. The court did remark that courts are permitted to limit character evidence –

approvingly citing a case in which the defendant was limited to six character witnesses – but only

in rejecting the defendant’s argument that the case should be transferred to Las Vegas for the

convenience of his forty potential character witnesses. Id. at 515.




                                                 4
            Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 5 of 7



       In summary, none of the government’s cases supports an across-the-board pre-trial

numerical cap on character witnesses. Indeed, several of them expressly disavow a rigid cap.

See Johnson, 730 F.2d at 688 (“[A] trial judge should not use an ‘unvarying rule’ as to the

number of character witnesses allowed without regard to the circumstances of the case, because

such a ‘rule’ would be arbitrary and not an exercise of discretion.” (citation omitted)); Scholl,

166 F.3d at 972 (“We resist the implication that the number of character witnesses rather than the

quality of their testimony should determine the strength of argument.” (quoting Henry, 560 F.2d

at 965)).

       Nor is there any basis for precluding the defense from eliciting character testimony from

the government’s witnesses on cross-examination. The government has issued trial subpoenas to

several of Mr. Craig’s former colleagues at Skadden who worked on the Tymoshenko report. As

an initial matter, much of what these witnesses have to say as “fact witnesses” about the project

itself will likely reflect well on Mr. Craig’s character, and we do not take the government to be

trying to limit such testimony. See Mot. at 4 (distinguishing “the government’s fact witnesses”

from “character witnesses”). But even if government witnesses have true character testimony to

offer – that is, testimony of Mr. Craig’s good character based on his reputation or the witnesses’

opinions not tethered to the facts of the case – the Court should allow the defense to elicit such

testimony from those witnesses on cross-examination rather than require that they be recalled as

defense witnesses. See, e.g., Scholl, 166 F.3d at 972 n.2 (noting that defense elicited character

testimony during government’s case-in-chief). At minimum, it is premature to determine that

character testimony will necessarily be “outside of the scope of the government’s direct

examination.” Mot. at 4.




                                                5
          Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 6 of 7



                                       CONCLUSION

       Having accused Mr. Craig of a crime of dishonesty, the government cannot now wave off

all proper character testimony as “redundant and highly duplicative.” Mot. at 4. Mr. Craig does

not plan to call needlessly cumulative character witnesses. We will stay within the confines of

proper character testimony, and we expect the government to do the same in its cross-

examination of character witnesses. See Lewis, 482 F.2d at 637–39; Brown, 503 F. Supp. 2d at

240–47. There is no need for the Court to set specific boundaries on the number of character

witnesses and the scope of relevant character testimony prior to trial. The government’s motion

in limine should be denied.

Dated: July 11, 2019                              Respectfully submitted,


                                                  /s/ William W. Taylor, III
                                                  William W. Taylor, III (D.C. Bar No. 84194)
                                                  Paula M. Junghans (D.C. Bar No. 474419)
                                                  Ezra B. Marcus (D.C. Bar No. 252685)
                                                  ZUCKERMAN SPAEDER LLP
                                                  1800 M Street N.W. Suite 1000
                                                  Washington, D.C. 20036
                                                  Tel: (202) 778-1800
                                                  Fax: (202) 822-8106
                                                  Email: wtaylor@zuckerman.com
                                                  Email: pjunghans@zuckerman.com
                                                  Email: emarcus@zuckerman.com

                                                  William J. Murphy (D.C. Bar No. 350371)
                                                  Adam B. Abelson (D.C. Bar No. 1011291)
                                                  ZUCKERMAN SPAEDER LLP
                                                  100 East Pratt Street, Suite 2440
                                                  Baltimore, MD 21202
                                                  Tel: (410) 332-0444
                                                  Fax: (410) 659-0436
                                                  Email: wmurphy@zuckerman.com
                                                  Email: aabelson@zuckerman.com

                                                  Attorneys for Defendant Gregory B. Craig


                                              6
         Case 1:19-cr-00125-ABJ Document 54 Filed 07/11/19 Page 7 of 7



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on July 11, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                               /s/ Ezra B. Marcus
                                               Ezra B. Marcus




                                          7
